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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

STACEY CRAWFORD

       Plaintiff,

v.                                             CASE NO.: ____________________

MEGABUS NORTHEAST LLC
d/b/a MEGABUS,

       Defendant.

                             NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. § 1446, Defendant MEGABUS NORTHEAST LLC

d/b/a MEGABUS, hereby files this Notice of Removal of the action now pending in

the State Court of Gwinnett County, State of Georgia, Civil Action File No. 23-C-

04159-S3, styled as STACEY CRAWFORD v. MEGABUS NORTHEAST LLC d/b/a

MEGABUS (the “State Court Action”), respectfully showing this Honorable Court

as follows:

                        PROCEDURAL BACKGROUND

     1.       On June 16, 2023, Plaintiff Stacey Crawford (“Plaintiff”) filed the State

Court Action in the State Court of Gwinnett County, State of Georgia. Copies of the




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Summons, Complaint, and all other filings in the State Court Action are attached

hereto as Exhibit “1” in accordance with 28 U.S.C. § 1446(a).

     2.      On June 16, 2023, the Clerk of the State Court of Gwinnett County,

Georgia issued Plaintiff a summons for service upon Defendant.

     3.      In the State Court Action, Plaintiff asserts three claims for negligence:

(1) negligence with the underlying vehicle; (2) negligence as to the aftermath; and

(3) negligent hiring, training, & supervision.

     4.      On June 26, 2023, Plaintiff alleged to have served Defendant by

effecting service upon Defendant’s registered agent, CT Corporation System. See

Sheriff’s Entry of Service included in Exhibit “1.” Therefore, this Notice of Removal

is timely filed pursuant to 28 U.S.C. § 1446(b)(1) and Fed.R.Civ.P. 6(a)(1)(C).

                        COMPLET DIVERSITY EXISTS

      5.     Pursuant to 28 U.S.C. § 1332(a), the Court has jurisdiction over this

action because there is complete diversity of citizenship between Plaintiff and

Defendant.

      6.     Plaintiff is a citizen of the State of Louisiana. (See Complaint ⁋ 5

(“plaintiff was traveling from New Orleans, LA to Atlanta, GA.”)

      7.     Defendant is a limited liability company organized and existing under

the laws of the State of Delaware.


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      8.     Defendant’s sole member is Independent Bus Co., Inc. is a corporation

existing under the laws of the State of New Jersey with its principal place of business

in New Jersey. Therefore, Defendant, is a citizen of New Jersey for purposes of

diversity jurisdiction. See 28 U.S.C. § 1332(c)(1).

  THE AMOUNT IN CONTROVERSY IS SUFFICIENT TO ESTABLISH
                 DIVERSITY JURISDICTION

      9.     The amount in controversy exceeds $75,000.00 as required by 28

U.S.C. § 1332(a).

      10.    The Supreme Court of the United States has held that “a defendant’s

notice of removal need only include a plausible allegation that the amount in

controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating

Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014).

      11.    When determining whether the amount-in-controversy amount has

been met, the district court must assess the jurisdictional facts at the time of removal.

Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1268 n.12 (11th Cir. 2009).

      12.    In the State Court Action, Plaintiff alleges special damages claim

$61,943.19, representing past medical expenses and lost wages. (Complaint, ¶¶ 26-

27 [Doc. 1-1, p. 5]. Therefore, the amount in controversy exceeds $75,000.00 as

required by 28 U.S.C. § 1332(a).

      13.    Plaintiff alleges she has severe injuries. (Compl. ¶ 25).

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     14.     Courts have held that where the plaintiff alleges permanent and severe

injuries, there is sufficient evidence to conclude the jurisdictional amount in

controversy has been met. See, e.g., Purdiman v. Organon Pharm. USA, Inc., No.

2:08-cv-0006-RWS, 2008 WL 686996, at *2 (N.D. Ga. Mar. 12, 2008) (complaint

alleging plaintiff sustained “permanent and debilitating injuries” sufficient for the

court to conclude that the amount of damages exceeds $75,000.00); Turner v. Wilson

Foods Corp., 711 F. Supp. 624, 626 (N.D. Ga. 1989) (complaint alleging severe and

permanent injuries, pain and suffering and lifelong medical expenses “provided

defendant with the necessary information to intelligently ascertain that it had

grounds for removal to federal court”).

     15.     Plaintiff alleges she seeks recovery of general damages for pain and

suffering. (Compl. at WHEREFORE/ad damnum clause, (b)).

     16.     “‘Eleventh Circuit precedent permits district courts to make ‘reasonable

deductions, reasonable inferences, or other reasonable extrapolations’ from the

pleadings to determine whether it is facially apparent that a case is removable.’”

Ramos v. Aetna Life Ins. Co., No. 1:17-CV-160-CAP, 2017 WL 7805607, at *1

(N.D. Ga. Feb. 17, 2017) (quoting Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744,

770 (11th Cir. 2010)) (citing Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1061-62

(11th Cir. 2010)).


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     17.     “‘Put simply, a district court need not ‘suspend reality or shelve

common sense in determining whether the face of a complaint . . . establishes the

jurisdictional amount.’” Id. at * 1 (quoting Pretka, 608 F.3d at 770).

     18.     Because the amount in controversy in the State Court Action will

exceed $75,000.00, exclusive of interest, costs, and attorney’s fees, the amount in

controversy requirement necessary for removal pursuant to 28 U.S.C. §§ 1332(a),

1441(b) is satisfied.

       REMOVAL TO THIS COURT IS PROCEDURALLY PROPER

     19.     Venue is proper in this district pursuant to 28 U.S.C. § 1446(a) because

the United States District Court for the Northern District of Georgia embraces the

venue where the State Court Action is pending.

     20.     Further, removal is timely pursuant to 28 U.S.C. § 1446(b) because

Defendant filed this Notice of Removal within thirty days of alleged service on June

26, 2023.

     21.     Pursuant to 28 U.S.C. § 1446(d), Defendant has provided written notice

to all adverse parties and has filed a copy of this Notice of Removal with the Clerk

of the Superior Court of Gwinnett County, Georgia




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      WHEREFORE, Defendant Megabus Northeast LLC d/b/a Megabus

respectfully submit this matter to this Court’s jurisdiction and remove the State

Court Action to this Court.

      Respectfully submitted this 25th day of July, 2023.

                                              WILSON, ELSER, MOSKOWITZ,
                                              EDELMAN AND DICKER, LLP

                                              /s/ Lawrence Lee Washburn IV
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                      CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that the foregoing pleading complies with

the font and point selections approved by the Court in Local Rule 5.1(c). This filing

has been prepared using size 14 Times New Roman font.

                                             WILSON ELSER MOSKOWITZ
                                             EDELMAN & DICKER, LLP

                                             /s/ Lawrence Lee Washburn IV
                                             Lawrence Lee Washburn IV
                                             Georgia Bar No. 562374
                                             Attorneys for Defendant




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                         CERTIFICATE OF SERVICE

      This is to certify that I filed foregoing NOTICE OF REMOVAL via email

and by filing it using the Clerk of Court’s CM/ECF e-filing system, which will send

electronic notification to the following counsel of record:

                                    John E. Alday
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      Dated: July 25, 2023

                                              /s/ Lawrence Lee Washburn IV
                                              Lawrence Lee Washburn IV
                                              Georgia Bar No. 562374
                                              Attorney for Defendant




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